                Case 23-21455-GLT                     Doc 17        Filed 07/11/23 Entered 07/11/23 15:45:34          Desc Main
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                                             IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                 IN RE: George T. Michael II                                                         CHAPTER 13
                               Jennifer A. Costolo-Michael a/k/a
                 Jennifer A. Costolo                                                             BKY. NO. 23-21455 GLT
                                             Debtor(s)


                                        ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                   To the Clerk:

                          Kindly enter my appearance on behalf of PNC BANK, NATIONAL ASSOCIATION
                   and index same on the master mailing list.



                                                                Respectfully submitted,


                                                                /s/ ${s:1:y:_________________________}
                                                                    Denise Carlon
                                                                    10 Jul 2023, 17:45:47, EDT

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Document ID: 43e0694a6f1ed17825c00b88ea612cb318a8a41915bd2e6997e9e70d177c902d
